{¶ 9} I respectfully dissent from the majority.
  {¶ 10} Appellant has a constitutional right to appeal his conviction.State v. Clark, 11th Dist. No. 90-P-2211, 1991 Ohio App. LEXIS 2371, at 9-10. In cases wherein someone may be sentenced to life imprisonment on each of three counts of a conviction of murder, the state of Ohio and its taxpayers will be spending their hard earned tax dollars to feed, clothe, house, as well as provide medical care for appellant. I humbly suggest to the majority that we accept the delayed appeal, and review the record before this court to make sure the trial court did not err. There specifically is no time limit for appellant to assert his constitutional right to an appeal. In fact, the rule provides specifically for a delayed appeal if the thirty-day deadline to file its original appeal is missed and it specifically does not set a deadline for this delayed appeal to be filed.
  {¶ 11} This court has an affirmative constitutional and statutory duty to review the trial court for error. We are the constitutional, quality control, and backstop for the citizens of the state of Ohio. By skirting this appeal, as well as others, I humbly submit we are not performing our duties to the best of our statutory and constitutional obligation. Thus, I dissent from the majority. *Page 1 